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Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 1 of 40 Page |D #:15

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"”’ . UNITED STATES DISTRICT COURT
_: FOR THE CENTRAL DISTRICT oF CALIFORN:A
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r: '_ SOUTHERN DIVIS:AI:Q 31 6 _ 0 00 08

 

 

 

UN§$ED'§TATES OF AMERICA, NO.
§§ ;'_.~ ;_> ~
Plaintiff, PLEA AGREEMENT FOR DEFENDANT
MICHAEL E. BARRI
V .
MICHAEL E. BARRI,
Defendant.
l. This constitutes the plea agreement between MICHAEL E.
BARRI (“defendant”) and the United States Attorney'S Office for the

Central Dietrict of California (“the USAO”) in the above~captioned

caSe. ThiS agreement is limited to the USAO and cannot bind any

other federal, State, local, or foreign prosecuting, enforcement,

administrative, or regulatory authorities.

 

 

 

 

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Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 2 of 40 Page |D #:16

DEFENDANT'S OBLIGATIONS

 

2. Defendant agrees to:

a. Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by the
Court, appear and plead guilty to a single-count information in the
form attached to this agreement as Exhibit A, or a substantially
similar form, Which charges defendant with Conspiracy to Commit Mail
Fraud and Honest Services Mail Fraud, and Engaging in Monetary
Transactions in Property Derived from Specified Unlawful Activity,
all in violation of 18 U.S.C. § 371.

b. Not contest facts agreed to in this agreement.

c. Abide by all agreements regarding sentencing contained
in this agreement.

d. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4Al.2(c) are not
Within the scope of this agreement.

f. Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

g. Pay the applicable special assessment at or before the
time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form
to be provided by the USAO.

3. Defendant further agrees to cooperate fully with the USAO,
the Federal Bureau of Investigation, the United States Postal Service

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Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 3 of 40 Page |D #:17

~ Office of Inspector General, the Internal Revenue Service, and, as
directed by the USAO, any other federal, state, local, or foreign
prosecuting, enforcement, administrative, or regulatory authority.
This cooperation requires defendant to:

a. Respond truthfully and completely to all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

b. Attend all meetings, grand jury sessions, trials or
other proceedings at which defendant's presence is requested by the
USAO or compelled by subpoena or court order.

c. Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USA©, or its
designee, inquires.

4. For purposes of this agreement: (1) “Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant
pursuant to defendant's cooperation under this agreement or pursuant
to the letter agreement previously entered into by the parties dated
December 14, 2015 (the “Letter Agreement”); and (2) “Plea
Information” shall mean any statements made by defendant, under oath,
at the guilty plea hearing and the agreed to factual basis statement
in this agreement.

THE USAO’S OBLIGATIONS

 

5. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

 

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Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 4 of 40 Page |D #:18

c. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

d. Except for criminal tax violations (including
conspiracy to commit such violations chargeable under 18 U.S.C.

§ 371), not further criminally prosecute defendant for violations
arising out of defendant's conduct described in the agreed~to factual
basis set forth in paragraph 18 below. Defendant understands that
the USAO is free to criminally prosecute defendant for any other
unlawful past conduct or any unlawful conduct that occurs after the
date of this agreement. Defendant agrees that at the time of
sentencing the Court may consider the uncharged conduct in
determining the applicable Sentencing Guidelines range, the propriety
and extent of any departure from that range, and the sentence to be
imposed after consideration of the Sentencing Guidelines and all
other relevant factors under 18 U.S.C. § 3553(a).

e. With respect to the single count of the information,
recommend that defendant be sentenced to a term of imprisonment no
higher than the low end of the applicable Sentencing Guidelines
range, provided that the offense level used by the Court to determine
that range is 19 or higher and provided that the Court does not
depart downward in criminal history category. For purposes of this
agreement, the low end of the Sentencing Guidelines range is that
defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A,
without regard to reductions in the term of imprisonment that may be

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Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 5 of 40 Page |D #:19

permissible through the substitution of community confinement or home
detention as a result of the offense level falling within Zone B or
Zone C of the Sentencing Table.

6. The USAO further agrees:

a. Not to offer as evidence in its case~in~chief in the
above~captioned case or any other criminal prosecution that may be
brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation Information.

Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea Information: (1) to obtain and pursue leads to
other evidence, which evidence may be used for any purpose, including
any criminal prosecution of defendant; (2) to cross-examine defendant
should defendant testify, or to rebut any evidence offered, or
argument or representation made, by defendant, defendant's counsel,
or a witness called by defendant in any trial, sentencing hearing, or
other court proceeding; and (3) in any criminal prosecution of
defendant for false statement, obstruction of justice, or perjury.

b. Not to use Cooperation Information against defendant
at sentencing for the purpose of determining the applicable guideline
range, including the appropriateness of an upward departure, or the
sentence to be imposed, and to recommend to the Court that
Cooperation Information not be used in determining the applicable
guideline range or the sentence to be imposed. Defendant
understands, however, that Cooperation lnformation will be disclosed
to the probation office and the Court, and that the Court may use
Cooperation Information for the purposes set forth in U.S.S.G.

§ lBl.S(b) and for determining the sentence to be imposed.

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Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 6 of 40 Page |D #:20

c. In connection with defendant's sentencing, to bring to
the Court's attention the nature and extent of defendant's
cooperation.

d. If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant's obligations under
paragraphs 2 and 3 above and provided substantial assistance to law
enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G.
§ 5K1 1 to fix an offense level and corresponding guideline range
below that otherwise dictated by the sentencing guidelines, and to
recommend a term of imprisonment at the low end of this reduced
range,

DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

 

7. Defendant understands the following:

a. Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false statement,
obstruction of justice, and perjury and will constitute a breach by
defendant of this agreement.

b. Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

c. Defendant cannot withdraw defendant's guilty plea if
the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants such a USAO motion but

elects to sentence above the reduced range,

 

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Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 7 of 40 Page |D #:21

d. At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive judgment
of the USAO.

e. The USAO's determination whether defendant has
provided substantial assistance will not depend in any way on whether
the government prevails at any trial or court hearing in which
defendant testifies or in which the government otherwise presents
information resulting from defendant's cooperation.

NATURE OF THE OFFENSE

 

8. Defendant understands that for defendant to be guilty of
the crime charged in the single count of the lnformation, that is,
Conspiracy to Commit Mail Fraud and Honest Services Mail Fraud, and
Engaging in Monetary Transactions in Property Derived from Specified
Unlawful Activity, all in violation of Title 18, United States Code,
Section 371, the following must be true: (1) Beginning in or around
2009 and continuing through in or around October 2013, there was an
agreement between two or more persons to commit a violation of Title
18, United States Code, Sections 1341 and 1346 (Mail Fraud and Honest
Services Mail Fraud), and Title 18, United States Code, Section 1957
(Engaging in Monetary Transactions in Property Derived from Specified
Unlawful Activity); (2) defendant became a member of the conspiracy
knowing of at least one of its objects and intending to help
accomplish it; and (3) one of the members of the conspiracy performed
at least one overt act for the purpose of carrying out the

conspiracy.

 

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z Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 8 of 40 Page |D #:22

9. Defendant understands that Mail Fraud, in violation of
Title 18, United States Code, Section 1341, has the following
elements: (l) the defendant knowingly devised or participated in a
scheme or plan to defraud, or a scheme or plan for obtaining money or
property by means of false or fraudulent pretenses, representations
or promises; (2) the statements made or facts omitted as part of the
scheme were material, that is, they had a natural tendency to
influence, or were capable of influencing, a person to part with
money or property; (3) the defendant acted with the intent to
defraud; and (4) the defendant used, or caused to be used, the mails
to carry out or attempt to carry out an essential part of the scheme.

10. Defendant further understands that Honest Services Mail
Fraud, in violation of Title 18, United States Code, Section 1346,
has the following elements: (1) the defendant devised or
participated in a scheme or plan to deprive a patient of his or her
right to honest services; (2) the scheme or plan consisted of a bribe
or kickback in exchange for medical services; (3) a medical
professional person owed a fiduciary duty to the patient; (4) the
defendant acted with the intent to defraud by depriving the patient
of his or her right of honest services; (5) the defendant's act was
material, that is, it had a natural tendency to influence, or was
capable of influencing, a person’s acts; and (6) the defendant used,
or caused someone to use, the mails to carry out or attempt to carry
out the scheme or plan.

11. Defendant understands that Engaging in Monetary
Transactions in Property Derived from Specified Unlawful Activity, in
violation of Title 18, United States Code, Section 1957, has the
following elements: (1) the defendant knowingly engaged or attempted

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CaSe 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 9 of 40 Page |D #:23

to engage in a monetary transaction; (2) the defendant knew the
transaction involved criminally derived property; (3) the property
had a value greater than $10,000; (4) the property was, in fact,
derived from mail fraud; and (5) the transaction occurred in the
United States.

PENALTIES AND RESTITUTION

 

12. Defendant understands that the total statutory maximum
sentence that the Court can impose for a violation of Title 18,
United States Code, Section 371, is: 5 years imprisonment; a 3~year
period of supervised release; a fine of $250,000 or twice the gross
gain or gross loss resulting from the offense, whichever is greatest;
and a mandatory special assessment of SlOO.

13. Defendant understands that defendant will be required to
pay full restitution to the victims of the offense to which defendant
is pleading guilty. Defendant agrees that, in return for the USAO's
compliance with its obligations under this agreement, the Court may
order restitution to persons other than the victims of the offense to
which defendant is pleading guilty and in amounts greater than those
alleged in the count to which defendant is pleading guilty. In
particular, defendant agrees that the Court may order restitution to
any victim of any of the following for any losses suffered by that
victim as a result: any relevant conduct, as defined in U.S.S.G.

§ 1B1.3, in connection with the offense to which defendant is
pleading guilty. The government currently believes that the
applicable amount of restitution is approximately S206,505, but
recognizes that this amount could change based on facts that come to

the attention of the parties prior to sentencing.

 

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CaSe 8:_16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 10 of 40 Page |D #:24

14. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

15. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.

Defendant understands that once the court accepts defendant's guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty plea.

16. Defendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant's attorney also may not be able to, advise defendant

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v Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 11 of 40 Page |D #:25

fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant's guilty
plea.
FACTUAL BASIS

17. Defendant admits that defendant is, in fact, guilty of the
offense to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support a plea of
guilty to the charge described in this agreement and to establish the
Sentencing Guidelines factors set forth in paragraph 18 below but is
not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct,

A. Kickbacks for Referrals to Pacific Hospital

Beginning in or around 2009 and continuing to in or around
October 2013, in Orange and Los Angeles Counties, within the Central
District of California, and elsewhere, defendant and Michael D.
Drobot (“Drobot”), together with other co~conspirators known and
unknown to the United States Attorney, knowingly combined, conspired,
and agreed to commit the following offenses against the United
States: Mail Fraud and Honest Services Mail Fraud, in violation of
Title 18, United States Code, Sections 1341 and 1346, and Engaging in
Monetary Transactions in Property Derived from Specified Unlawful
Activity, in violation of Title 18, United States Code, Section 1957.

Specifically, beginning in 2009, defendant agreed to refer
workers' compensation patients, or to cause workers' compensation
patients to be referred, to Pacific Hospital of Long Beach (“Pacific

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1 Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 12 of 40 Page |D #:26

Hospital”), owned and/or operated by Drobot, for spinal surgeries and
other medical services, in exchange for illegal kickbacks offered and
paid by Drobot and others through companies Drobot owned and/or
controlled. Defendant, Drobot, and others concealed the kickbacks
from both defendant's patients and the insurance carriers that paid
for the services, and entered into bogus contracts under which
defendant purported to provide services to Drobot's companies to
justify the kickback payments.

Defendant, a licensed chiropractor, owned and operated Tri~Star
Medical Group (“Tri-Star”), a medical clinic located in Santa Ana,
California which specialized in treating workers' compensation
patients. Defendant also owned, operated, and/or controlled Jojaso
Management Company, lnc. (“Jojaso”), a medical group management
company based in Santa Ana, California.

In 2009, Drobot solicited defendant to refer Tri-Star's workers'
compensation patients to Pacific Hospital for spinal surgeries and
other medical services in return for kickback payments. Defendant
agreed. In order to conceal the kickback payments defendant and
Drobot expected would be made, defendant, on behalf of Jojaso,
entered into an Outsourced Collection Agreement with Pacific
Hospital, effective April 17, 2009 (the “2009 Collection Agreement”).
Under the terms of the 2009 Collection Agreement, Jojaso purported to
provide collection services to Pacific Hospital in return for a
payment of fifteen percent (15%) of any amount paid by insurance
carriers to Pacific Hospital for spinal surgeries referred by
defendant. Neither defendant nor Drobot believed the 2009 Collection

Agreement was a legitimate contract for collection services; instead,

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- Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 13 of 40 Page |D #:27

the 2009 Collection Agreement was merely a cover story to conceal the
planned kickback payments.

In 2011, after defendant did not cause any patients to be
referred to Pacific Hospital pursuant to the 2009 Collection
Agreement, Attorney A, on behalf of Pacific Hospital, solicited
defendant to enter into a new agreement under which defendant would
refer patients to Pacific Hospital in return for kickbacks. In or
around June 2011, after meeting with Drobot and Attorney A, defendant
entered into a second Outsourced Collection Agreement with Pacific
Hospital (the “2011 Collection Agreement” and collectively with the
2009 Collection Agreement, the “Collection Agreements”). The terms
of the 2011 Collection Agreement mirrored the terms of the 2009
Collection Agreement, but also provided that Jojaso would be paid its
fifteen percent collection fee within sixty days of the surgery,
regardless of whether any monies had yet been paid to Pacific
Hospital by insurance carriers. Shortly after entering into the 2011
Collection Agreement, Jojaso received a $10,000 payment from Pacific
Hospital as a “deposit” for agreeing to refer patients to Pacific
Hospital. However, between July 2011 and February 2012, defendant
did not refer any patients to Pacific Hospital under the 2011
Collection Agreement.

In or around January 2012, at defendant's request, Drobot agreed
to increase the amount paid to Jojaso for patients defendant referred
to Pacific Hospital from fifteen percent to twenty~five percent
(25%). Accordingly, on or about January 27, 2012, defendant and
Drobot amended the terms of the 2011 Collection Agreement to reflect
the increased kickback amount, while also removing the provision
requiring Pacific Hospital to make payments to defendant within sixty

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1 Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 14 of 40 Page |D #:28

days of surgery, regardless of whether any monies had actually been
collected by Pacific Hospital. Defendant then began referring Tri-
Star’s workers' compensation patients to Pacific Hospital. Between
November 2012 and July 2013, defendant received $158,555.98 in
kickbacks in return for the referral of twelve patients to Pacific
Hospital, which Pacific Hospital paid to defendant only after Pacific
Hospital had collected from insurance carriers. Those surgeries were
performed primarily by Surgeon A and Surgeon B, spinal surgeons who
were affiliated with Tri~Star.

As defendant and Drobot knew, the Collection Agreements were
bogus contracts designed to conceal the kickback payments made to
defendant by Drobot. Jojaso performed and documented some limited
collection-related activities on behalf of Pacific Hospital, but only
for the purpose of creating an appearance that legitimate collection
services had been provided.

In addition to kickback payments received pursuant to the
Collection Agreement, defendant also received kickbacks from Drobot
by means of a below-market rate lease of medical office space. On or
about May 1, 2012, Jojaso entered into a sublease agreement with
Pacific Hospital pursuant to which Jojaso subleased medical office
space at 2609 Pacific Avenue, Suite 300, Long Beach, California (the
“Pacific Avenue Office”) for $2,000 per month (the “Sublease
Agreement”). Pacific Hospital leased the Pacific Avenue Office for
$5,162.50 per month. While defendant did not know the precise amount
Pacific Hospital paid to lease the Pacific Avenue Office, defendant
knew that the fair market value of the Pacific Avenue Office clearly
exceeded $2,000 per month. Defendant further understood that Drobot
entered into the Sublease Agreement at the below-market rate in

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= Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 15 of 40 Page |D #:29

return for defendant's referral of workers' compensation patients to
Pacific Hospital. In total, between May 2012 and April 2013,
defendant was not required to pay to Drobot $37,950 that would have
otherwise been owed had the Sublease Agreement called for payment of
market»rate rent.

In total, between 2009 and 2013, through the Collection
Agreements and the Sublease Agreement, defendant received from
Drobot, Pacific Hospital, and entities under Drobot's control,
approximately $206,505 98 in return for defendant's referral of
patients to Pacific Hospital for spinal surgeries and other medical
services. In turn, Pacific Hospital billed insurance carriers
approximately $3.9 million for spinal surgeries and other medical
services performed on patients referred to Pacific Hospital by
defendant,

Defendant knew that it was illegal to accept the kickbacks
discussed above. Further, defendant knew that Pacific Hospital would
submit claims by mail and electronically to workers' compensation
insurance carriers for the services that resulted from the referrals
induced by the payment of kickbacks; and defendant knew that Pacific
Hospital would receive by mail payments from the workers'
compensation insurance carrier as reimbursement for the claims.
Defendant also knew that, if the insurance carriers had known that
the spinal surgeries for which they were billed resulted from
referrals induced by such kickbacks, those insurance carriers would
not have paid the claims or would have paid a lesser amount.
Moreover, defendant knew that, if his patients had known that he was

receiving such kickbacks, they may have chosen not to obtain the

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Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 16 of 40 Page |D #:30

medical services recommended, or may have chosen to be treated by
different medical professionals or at a different hospital.

At all times during the conspiracy, defendant knew that his co-
conspirators would send various items through the mail in furtherance
of the conspiracy.

In furtherance of the conspiracy and to accomplish the objects
of the conspiracy, defendant and other co-conspirators committed
various overt acts within the Central District of California,
including but not limited to the following:

Overt Act No. 1

On or about April 17, 2009, defendant caused Jojaso to enter
into an Outsourced Collection Agreement with Pacific Hospital, under
which Jojaso would be paid fifteen percent of any monies collected by
Pacific Hospital on patients referred for surgery to Pacific Hospital
by defendant.

Overt Act No. 2

On July 13, 2009, defendant sent an email message to Drobot
inquiring about obtaining credentials for Surgeon C to perform spinal
surgeries at Pacific Hospital.

Overt Act No. 3

On or about June 14, 2011, defendant caused Jojaso to enter into
an Outsourced Collection Agreement with Pacific Hospital under which
Jojaso would be paid, within sixty days of surgery, fifteen percent
of any monies collected, or estimated to be collected, on patients
referred for surgery to Pacific Hospital by defendant.

Overt Act No. 4

On or about June 16, 2011, defendant sent an email message to
Drobot and Attorney A informing Drobot and Attorney A that the

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' Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 17 of 40 Page |D #:31

surgery to be performed at Pacific Hospital on June 22, 2011 by
Surgeon D was the result of a referral by defendant.

Overt Act No. 5

On or about January 27, 2012, defendant caused Jojaso to enter
into Amendment One to Outsourced Collection Agreement, increasing the
collection fee paid to Jojaso to twenty-five percent of any monies
collected on patients referred for surgery to Pacific Hospital by
defendant.

Overt Act No. 6

On or about May 1, 2012, defendant caused Jojaso to enter into a
Medical Office Sublease with Pacific Hospital for the medical office
located at 2690 Pacific Avenue, Suite 300, Long Beach, California.

Overt Act No. 7

On or about June 11, 2012, defendant sent to Attorney A an
invoice purported to be for collection services performed by Jojaso
related to a spinal surgery performed on Patient A at Pacific
Hospital.

Overt Act No. 8

On or about November 28, 2012, Pacific Hospital sent to Jojaso a
check for $3,143 in connection with defendant's referral of Patient A
to Pacific Hospital for spinal surgery,

Overt Act No. 9

On or about May 29, 2013, Pacific Hospital sent to Jojaso a
check for $26;248.03.

Overt Act No. 10

On or about June 14, 2012, Pacific Hospital sent to Jojaso a

check for $20,036.89.

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- Case 8:16-cr-00008-.]LS Document 5 Filed 01/25/16 Page 18 of 40 Page |D #:32

Overt Act No. 11

On or about July 2, 2013, Pacific Hospital sent to Jojaso a
check for $25,613.93.

B. Kickbacks for Referrals to Tri-City Medical Center

Defendant also received kickback payments for referring workers'
compensation patients to Tri-City Medical Center in Hawaiian Gardens,
California (“Tri-City”) for spinal surgeries and other medical
procedures. Defendant was introduced to Executive A of Tri-City by
Paul Randall, a health care marketer. Defendant and Executive A
agreed that Tri-City would pay kickbacks to defendant in exchange for
defendant's referrals to Tri-City. To facilitate the kickback
arrangement, defendant entered into a collection agreement with Tri-
City (the “Tri-City Collection Agreement”) that called for defendant
`to be paid twelve and one-half percent (12.5%) of any amount
collected for medical services provided to patients referred by
defendant. Based on his conversation with Executive A, defendant
knew that the Tri-City Collection Agreement, like the Collection
Agreements later entered into with Drobot and Pacific Hospital, was a
bogus contract, and that defendant was not required to perform
legitimate collection activities in order to earn the purported
collection fee and to be paid for referrals, When defendant first
sought payment for referrals from Tri-City, however, Attorney B
advised defendant that, in order for defendant to be paid for his
referrals, defendant was required to create documentation designed to
show that defendant performed some collection-related activities,
even though the payment to defendant was for defendant's referrals,
Defendant thereafter began maintaining documentation as instructed by
Attorney B.

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» Case 8:16-cr-00008-.]LS Document_5 Filed 01/25/16 Page 19 of 40 Page |D #:33

Pursuant to his agreement with Executive A, defendant referred
workers' compensation patients to Surgeon B, Surgeon C, and others
for surgeries to be performed at Tri-City. In return for those
referrals, defendant received kickback payments from both Tri-City
and Randall.

SENTENCING FACTORS

 

18. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of
conviction. Defendant and the USAO agree to the following applicable

7Sentencing Guidelines factors:

 

Base Offense Level: 6 [U.S.S.G. § 2B1.1(a)(2)]
Specific Offense

Characteristics:

Loss between +10 [U.S.S.G. § 2B1.1(b)(1)(F)]
S150,000-$250,000

Abuse of Trust +2 [U.S.S.G. § 3B1 3]

Upward Departure: +2 [U.S.S.G. § 5K2.0]

The USAO will agree to a two-level downward adjustment for acceptance
of responsibility (and, if applicable, move for an additional one-
level downward adjustment under U.S.S.G. § 3E1.1(b)) only if the

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 20 of 40 Page |D #:34

conditions set forth in paragraph 5(c)) are met. Defendant and the
USAO reserve the right to argue that additional specific offense
characteristics, adjustments, and departures under the Sentencing
Guidelines are appropriate.

19. Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.

20, Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
(a)(Z), (a)(3), (a)(€), and (a)(7).

WAIVER OF CONSTITUTIONAL RIGHTS

 

21. Defendant understands that by pleading guilty, defendant
gives up the following rights:

a. The right to persist in a plea of not guilty.

b. The right to a speedy and public trial by jury.

c. The right to be represented by counsel - and if
necessary have the court appoint counsel - at trial. Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel - at every other stage of the proceeding.

d. The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses
against defendant.

f. The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify.

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§ Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 21 of 40 Page |D #:‘8.5

g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

 

22. Defendant understands that, with the exception of an appeal
based on a claim that defendant's guilty plea was involuntary, by
pleading guilty defendant is waiving and giving up any right to
appeal defendant's conviction on the offense to which defendant is
pleading guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 

23. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction of no more than the
low end of the Guidelines range corresponding to a total offense
level of 19 and defendant's criminal history category, defendant
gives up the right to appeal all of the following; (a) the procedures
and calculations used to determine and impose any portion of the
sentence; (b) the term of imprisonment imposed by the Court; (c) the
fine imposed by the court, provided it is within the statutory
maximum; (d) the amount and terms of any restitution order, provided
it requires payment of no more than $206,505; (e) the term of
probation or supervised release imposed by the Court, provided it is
within the statutory maximum; and (f) any of the following conditions
of probation or supervised release imposed by the Court: the
conditions set forth in General Orders 318, 01-05, and/or 05-02 of
this Court; the drug testing conditions mandated by 18 U.S.C.

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’ Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 22 of 40 Page |D #:36

§§ 3563(a)(5) and 3583(d); and the alcohol and drug use conditions
authorized by 18 U.S.C. § 3563(b)(7).

24. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above and
(b) the Court imposes a term of imprisonment of no less than the low
end of the Guidelines range corresponding to a total offense level of
19 and defendant's criminal history category, the USAO gives up its
right to appeal any portion of the sentence, with the exception that
the USAO reserves the right to appeal the following: the amount of
restitution ordered, if that amount is less than $206,505.

RESULT OF WITHDRAWAL OF GUILTY PLEA

 

25. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant's guilty plea on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement, including in particular its
obligations regarding the use of Cooperation Information; (b) in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action, defendant agrees that any Cooperation Information
and any evidence derived from any Cooperation Information shall be
admissible against defendant, and defendant will not assert, and
hereby waives and gives up, any claim under the United States
Constitution, any statute, or any federal rule, that any Cooperation
Information or any evidence derived from any Cooperation Information

should be suppressed or is inadmissible.

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 23 of 40 Page |D #:37

EFFECTIVE DATE OF AGREEMENT

 

26. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant's counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

 

27, Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant's obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. For example, if defendant
knowingly, in an interview, before a grand jury, or at trial, falsely
accuses another person of criminal conduct or falsely minimizes
defendant's own role, or the role of another, in criminal conduct,
defendant will have breached this agreement. All of defendant's
obligations are material, a single breach of this agreement is
sufficient for the USAO to declare a breach, and defendant shall not
be deemed to have cured a breach without the express agreement of the
USAO in writing. If the USAO declares this agreement breached, and
the Court finds such a breach to have occurred, then:

a. lf defendant has previously entered a guilty plea
pursuant to this agreement, defendant will not be able to withdraw
the guilty plea.

b. The USAO will be relieved of all its obligations under
this agreement; in particular, the USAO: (i) will no longer be bound
by any agreements concerning sentencing and will be free to seek any
sentence up to the statutory maximum for the crime to which defendant
has pleaded guilty; and (ii) will no longer be bound by any agreement

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 24 of 40 Page |D #:38

regarding the use of Cooperation Information and will be free to use
any Cooperation Information in any way in any investigation, criminal
prosecution, or civil, administrative, or regulatory action.

c. The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant.

d. In any investigation, criminal prosecution, or civil,
administrative, or regulatory action: (i) defendant will not assert,
and hereby waives and gives up, any claim that any Cooperation
Information was obtained in violation of the Fifth Amendment
privilege against compelled self-incrimination; and (ii) defendant
agrees that any Cooperation Information and any Plea Information, as
well as any evidence derived from any Cooperation Information or any
Plea Information, shall be admissible against defendant, and
defendant will not assert, and hereby waives and gives up, any claim
under the United States Constitution, any statute, Rule 410 of the
Federal Rules of Evidence, Rule 11(f) of the Federal Rules of
Criminal Procedure, or any other federal rule, that any Cooperation
Information, any Plea Information, or any evidence derived from any
Cooperation lnformation or any Plea Information should be suppressed
or is inadmissible.

COURT AND PROBATION OFFICE NOT PARTIES

 

28, Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAG’s sentencing recommendations or the parties'
agreements to facts or sentencing factors, .

29, Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 25 of 40 Page |D #:39

to the United States Probation Office and the Court, (b) correct any
and all factual misstatements relating to the Court's Sentencing
Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court's Sentencing
Guidelines calculations and the sentence it chooses to impose are not
error, although each party agrees to maintain its view that the
calculations in paragraph 20 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may
be viewed as inconsistent with the facts agreed to in this agreement,
this paragraph does not affect defendant's and the USAO's obligations
not to contest the facts agreed to in this agreement.

30. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,
withdraw defendant's guilty plea, and defendant will remain bound to
fulfill all defendant's obligations under this agreement. Defendant
understands that no one -- not the prosecutor, defendant's attorney,
or the Court -- can make a binding prediction or promise regarding
the sentence defendant will receive, except that it will be within
the statutory maximum.

NO ADDITIONAL AGREEMENTS

 

31. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO

and defendant or defendant's attorney, and that no additional

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 26 of 40 Page |D #:40

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promise, understanding, or agreement may be entered into unless in a
writing signed by all parties or on the record in court,
PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

32. The parties agree that this agreement will be considered
part of the record of defendant's guilty plea hearing as if the
entire agreement had been read into the record of the proceeding.
AGREED AND ACCEPTED
UNITED STATES ATTORNEY'S OFFICE
FOR THE CENTRAL DISTRICT OF
CALIFORNIA

EILEEN M. DECKER
United States Attorney

AM</v l/)»z_/ze

 

 

 

 

 

 

 

 

storm 1`) E/NLEY Date
lassistant‘I Unite/ States Attorney
MICHAEL E. BARRI Date
. Defend nt
( /¢LL§w\/Q4///// //;;LO///!g
JE s A't. Muié€< ~ hare
Attorney for Defendant MICHAEL E.
BARRI

CERTIFICATION OF DEFENDANT_

l have read this agreement in its entirety. l have had enough
time to review and consider this agreement, and I have carefully and
thoroughly discussed every part of it with my attorney, l understand
the terms of this agreement, and l voluntarily agree to those terms.
I have discussed the evidence with my attorney, and my attorney has

advised me of my rights, of possible pretrial motions that might be

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 27 of 40 Page |D #:41

filed, of possible defenses that might be asserted either prior to or
at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),
of relevant Sentencing Guidelines provisions, and of the consequences
of entering into this agreement. No promises, inducements, or
representations of any kind have been made to me other than those
contained in this agreement. No one has threatened or forced me in
any way to enter into this agreement. I am satisfied with the
representation of my attorney in this matter, and 1 am pleading
guilty because l am guilty of the charges and wish to take advantage

of the promises set forth in this agreement, and not for any other

 

 

 

 

reason.
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MICHAEL E. BARRI Date

Defendant

CERTIFICATION OF DEFENDANT'S ATTCRNEY

l am MICHAEL E. BARRl’s attorney, .l have carefully and
thoroughly discussed every part of this agreement with my client.
Further, l have fully advised my client of his rights, of possible
pretrial motions that might be filed, of possible defenses that might
be asserted either prior to or at trial, of the sentencing factors
set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client's decision to enter into this

agreement is an informed and voluntary one; and the factual basis set

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forth in this agreement is sufficient to support my client’s entry of

a guil y plea pursuant to this agreement.

 

 

   

 

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J A . MUNK hare / ’ ’
Attorney for Defendant MICHAEL E.
BARRI

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- Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 29 of 40 Page |D #:43

EXHIBIT A

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 30 of 40 Page |D #:44

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

SOUTHERN DIVISION

UNITED STATES OF AMERICA, SA CR NO. 16-
PMMUH, irrssrsiisr
v. [18 U.S.C. § 371: Conspiracy]

MICHAEL E. BARRI,

Defendant.

 

 

 

The United States Attorney charges:
[18 U.S.C. § 371]

A. INTRODUCTORY ALLEGATIONS

 

At all times relevant to this Information:

1. _ Healthsmart Pacific Inc., doing business as Pacific
Hospital of Long Beach (“Pacific Hospital”), was a hospital located
in Long Beach, California, specializing in surgeries, particularly
spinal and orthopedic surgeries. From at least in or around 1997 to
October 2013, Pacific Hospital was owned and/or operated by Michael

D. Drobot (“Drobot”) and Executive A.

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 31 of 40 Page |D #:45

2. Defendant MICHAEL E. BARRI (“defendant BARRI”) was a
chiropractor who owned and operated Tri-Star Medical Group (“Tri-
Star"), a medical clinic located in Santa Ana, California
specializing in treating workers' compensation patients.

3. Defendant BARRI also operated and controlled Jojaso
Management Company, Inc. (“Jojaso"), a medical group management
company based in Santa Ana, California.

4. The California Workers' Compensation System (“CWCS”) was a
system created by California law to provide insurance covering
treatment of injury or illness suffered by individuals in the course
of their employment. Under the CWCS, employers were required to
purchase workers' compensation insurance policies from insurance
carriers to cover their employees. When an employee suffered a
covered injury or illness and received medical services, the medical
service provider submitted a claim for payment to the relevant
insurance carrier, which then paid the claim. Claims were submitted
to and paid by the insurance carriers either by mail or
electronically. The CWCS was governed by various California laws and
regulations.

5. The California State Compensation Insurance Fund (“SCIF”)
was a non-profit insurance carrier, created by the California
Legislature, that provided workers' compensation insurance to
employees in California, including serving as the “insurer of last
resort” under the CWCS system for employees without any other
coverage.

6. California law, including but not limited to the California
Business and Professions Code, the California Insurance Code, and the
California Labor Code, prohibited the offering, delivering,

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 32 of 40 Page |D #:46

soliciting, or receiving of anything of value in return for referring
a patient for medical services.

7. The Federal Employees' Compensation Act (“FECA”) provided
benefits to civilian employees of the United States, including United
States Postal Service employees, for medical expenses and wage-loss
disability due to a traumatic injury or occupational disease
sustained while working as a federal employee. Benefits available to
injured employees included rehabilitation, medical, surgical,
hospital, pharmaceutical, and supplies for treatment of an
injury. The Department of Labor (“DOL”) - Office of Workers'
Compensation Programs (“OWCP”) was the governmental body responsible
for administering the FECA. When a federal employee suffered a
covered injury or illness and received medical services, the medical
service provider submitted a claim for payment by mail or
electronically to Affiliated Computer Services (“ACS”), located in
London, Kentucky, which was contracted with the DOL to handle such
claims, Upon approval of the claim, ACS sent payment by mail or
electronic funds transfer from the U.S. Treasury in Philadelphia,
Pennsylvania, to the medical service provider.

8. Federal law prohibited the offering, delivering,
soliciting, or receiving of anything of value in return for referring
a patient for medical services paid for by a federal health care
benefit program.

B. OBJECTS OF THE CONSPIRACY

 

9. Beginning on a date unknown but at least as early as in or
around 2009, and continuing through at least in or around April 2013,
in Orange and Los Angeles Counties, within the Central District of
California, and elsewhere, defendant BARRI and Drobot, together with

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 33 of 40 Page |D #:47

others known and unknown to the United States Attorney, knowingly
combined, conspired, and agreed to commit the following offenses
against the United States: Mail Fraud and Honest Services Mail
Fraud, in violation of Title 18, United States Code, Sections 1341
and 1346; and Engaging in Monetary Transactions in Property Derived
from Specified Unlawful Activity, in violation of Title 18, United
States Code, Section 1957.

C, MANNER AND MEANS OF THE CONSPIRACY

 

10. The objects of the conspiracy were to be carried out, and
were carried out, in the following ways, among others:

a. Drobot and other co-conspirators offered to pay
kickbacks to defendant BARRI and other doctors, chiropractors,
workers' compensation and personal injury attorneys, marketers, and
others in return for referring workers' compensation patients to
Pacific Hospital for spinal surgeries, other types of surgeries,
magnetic resonance imaging, toxicology, durable medical equipment,
and other services, to be paid through FECA and the CWCS. For spinal
surgeries, typically, Drobot offered to pay a kickback of $15,000 per
lumbar fusion surgery and $10,000 per cervical fusion surgery,
provided that equipment distributed through International Implants
was used in the surgery,

b. Influenced by the promise of kickbacks, defendant
BARRI and other doctors, chiropractors, workers' compensation and
personal injury attorneys, marketers, and others referred patients
insured through the CWCS and the FECA to Pacific Hospital for spinal
surgeries, other types of surgeries, and other medical services. In
some cases, defendant BARRI and other doctors, chiropractors, or
others referred patients to spinal surgeons, who understood that the

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 34 of 40 Page |D #:48

referrals were conditioned on the spinal surgeons' performing the
surgeries at Pacific Hospital. The workers' compensation patients
were not informed that the medical professionals had been offered
kickbacks to induce them to refer the surgeries and other medical
services to Pacific Hospital. That information would have been
material to those patients, to whom defendant BARRI and other doctors
owed a fiduciary duty to disclose any financial conflicts of
interest.

c. The surgeries and other medical services were
performed on the referred workers' compensation patients at Pacific
Hospital.

d. Pacific Hospital submitted claims, by mail and
electronically, to SCIF and other workers' compensation insurance
carriers for payment of the costs of the surgeries and other medical
services.

e. As defendant BARRI and the other co-conspirators knew
and intended, and as was reasonably foreseeable to them, in
submitting claims for payment, Pacific Hospital concealed material
information from SCIF and other workers' compensation insurance
carriers, including the fact that Pacific Hospital did not disclose
to the insurance carriers that it had offered or paid kickbacks for
the referral of the surgeries and other medical services for which it
was submitting claims.

f. The insurance carriers paid Pacific Hospital's claims,
by mail or electronically,

g. Drobot and others paid and caused others to pay

kickbacks to defendant BARRI and other doctors, chiropractors,

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 35 of 40 Page |D #:49

marketers, and others who had referred patients to Pacific Hospital
for surgeries and other medical services.

h. To conceal the nature of the kickback payments from
both workers' compensation insurance carriers and patients, Drobot,
through one of the companies he owned and/or operated, entered into
bogus contracts with the doctors, chiropractors, including defendant
BARRI, marketers, and others. The services discussed in those
contracts were, in fact, generally not provided; rather, the
compensation paid was based on the number and type of surgeries and
other medical services referred to Pacific Hospital. Defendant BARRI
and Drobot entered into the following bogus contracts in order to
hide the kickback payments: a collections agreement and a lease
agreement.

i. Drobot and others kept records of the number of
surgeries and other medical services performed at Pacific Hospital
due to referrals from the kickback recipients, as well as amounts
paid to the kickback recipients for those referrals. Periodically,
Drobot and others amended the bogus contracts with the kickback
recipients to increase or decrease the amount of agreed compensation
described in the contracts, in order to match the amount of kickbacks
paid or promised in return for referrals.

D. EFFECTS OF THE CONSPIRACY

 

11. Had SCIF and the other workers’compensation insurance
carriers known the true facts regarding the payment of kickbacks for
the referral of workers' compensation patients for surgeries and
other medical services performed at Pacific Hospital, they would not

have paid the claims or would have paid a lesser amount.

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 36 of 40 Page |D #:50

12. From 2005 to in or around April 2013, Pacific Hospital
billed workers' compensation insurance carriers approximately 8580
million in claims for spinal surgeries that were the result of the
payment of a kickback; and Drobot and other co~conspirators paid
kickback recipients between approximately $20 million and $50 million
in kickbacks relating to those claims.

E. OVERT ACTS

13. On or about the following dates, in furtherance of the
conspiracy and to accomplish the objects of the conspiracy, defendant
BARRI and other co~conspirators known and unknown to the United
States Attorney, committed various overt acts within the Central
District of California, and elsewhere, including, but not limited to,
the following:

Overt Act No. 1: On or about April 17, 2009, defendant BARRI
caused Jojaso to enter into an Outsourced Collection Agreement with
Pacific Hospital, under which Jojaso would be paid fifteen percent of
any monies collected by Pacific Hospital on patients referred for
surgery to Pacific Hospital by defendant BARRI.

Overt Act No. 2: On July 13, 2009, defendant BARRI sent an
email message to Drobot inquiring about obtaining credentials for
Surgeon C to perform spinal surgeries at Pacific Hospital.

Overt Act No. 3: On or about June 14, 2011, defendant BARRI
caused Jojaso to enter into an Outsourced Collection Agreement with
Pacific Hospital under which Jojaso would be paid, within sixty days
of surgery, fifteen percent of any monies collected, or estimated to
be collected, on patients referred for surgery to Pacific Hospital by

defendant BARRI.

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 37 of 40 Page |D #:51

Overt Act No. 4: On or about June 16, 2011, defendant BARRI
sent an email message to Drobot and Attorney A informing Drobot and
Attorney A that the surgery to be performed at Pacific Hospital on
June 22, 2011 by Surgeon D was the result of a referral by defendant
BARRI.

Overt Act No. 5: On or about January 27, 2012, defendant
BARRI caused Jojaso to enter into Amendment One to Outsourced
Collection Agreement, increasing the collection fee paid to Jojaso to
twenty-five percent of any monies collected on patients referred for
surgery to Pacific Hospital by defendant BARRI.

Overt Act No. 6: On or about May 1, 2012, defendant BARRI
caused Jojaso to enter into a Medical Office Sublease with Pacific
Hospital for the medical office located at 2690 Pacific Avenue, Suite
300, Long Beach, California.

Overt Act No. 7: On or about June 11, 2012, defendant BARRI
sent to Attorney A an invoice purported to be for collection services
performed by Jojaso related to a spinal surgery performed on Patient
A at Pacific Hospital.

Overt Act No. 8: On or about November 28, 2012, Pacific
Hospital sent to Jojaso a check for $3,143 in connection with
defendant BARRI's referral of Patient A to Pacific Hospital for
spinal surgery.

Overt Act No. 9: On or about May 29, 2013, Pacific Hospital
sent to Jojaso a check for $26,248.03.

Overt Act No. 10: On or about June 14, 2012, Pacific Hospital

 

sent to Jojaso a check for $20,036.89.

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 38 of 40 Page |D #:52

Overt Act No. 11: On or about July 2, 2013, Pacific Hospital

sent to Jojaso a check for $25,613.93.

EILEEN M. DECKER
United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

DENNISE D. WILLETT
Assistant United States Attorney
Chief, Santa Ana Branch Office

JOSHUA M. ROBBINS
SCOTT D. TENLEY
Assistant United States Attorneys

ASHWIN JANAKIRAM

Special Assistant United States
Attorney

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Case 8:16-cr-OOOO8-.]LS Document 5 Filed 01/25/16 Page 39 of 40 Page |D #:53

CERTIFICATE OF SERVICE

I, Cristy Fillon, declare:

That l am a citizen of the United States and a resident of or
employed in Orange County, California; that my business address is
the Office of United States Attorney, 411 West 4dlStreet, Suite
8000, Santa Ana, California 92701; that I am over the age of 18; and
that I am not a party to the above-titled action;

That I am employed by the United States Attorney for the
Central District of California, who is a member of the Bar of the
United States District Court for the Central District of California,

at whose direction, on this date, January 25, 2016, I served a copy

of the foregoing document(s): PLEA AGREEMENT

E Placed in a closed envelope 13 Placed in a sealed envelope
for collection and inter- for collection and mailing via
office delivery, addressed as United States mail, addressed
follows: as follows: SEE ATTACHED

ij By hand delivery, addressed as ij By facsimile, as follows:
follows:

[] By messenger, as follows: [J By Federal Express, as

follows:

This Certificate is executed on January 25, 2016, in Santa Ana,
California. I certify under penalty of perjury that the foregoing

is true and correct.

”/X/

 

Cristy/Fillon
Legal Assistant

 

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Case 8:16-cr-OOOO8-.]LS Document5 Filed 01/25/16

ATTACHMENT

Jessica C. Munk

Senior Associate

Law Office of David W. Wiechert
115 Avenida Miramar

San Clemente, CA 92672

Page 40 of 40 Page |D #:54

 

